ease 2:05-cr-2023N-Jmm mcmmnmATfs§€dM@€d@§" §d§§zl Of 2 Page'D 14
FOR THE WESTERN DISTRICT OF TENNESSEE
wESTERN DIVISION r__w
HLMJ§W'HH§$ EF}

UNITED sTATEs oF AMERICA USAUG -3 AHH, kg

  

v. No. 05-20230-Ml }H:,u|

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ODIE SMITH

 

ORDER CONTINUING ARRAIGNMENT AND
SPECIFYING PERIOD OF EXCLUDABLE DELAY UNDER THE SPEEDY TRIAL ACT

 

The Defendant's counsel was not present for the scheduled
hearing. The Court finds that in the interests of justice, this
matter be continued. Pursuant to the Speedy Trial Act, as set in
18 U.S.C. §3161(h)(8)(A), defendant's period of excludable delay
may be granted if the ends of justice are served.

The Arraignment is therefore continued and reset to Wednesday,
Auqust 10. 2005 @ 9:30a.m. in Courtroqm M-3l 9th fl. , Federal

Building, 167 N. Main Street, Memphis, Tennessee.
It is therefore ORDERED that the time period of 8[3[05

through, 819¢05 be excluded from the time its imposed by the

Speedy Trial Act for trial of this case, due to the interests of

justice.
ThiS __Lday of August;, 2005. ;é:
UNITED STATES MAGISTRATE JUDGE
Th'!s document entered on the docket sheet lngomp!?ance /%
with eula se and/or ez(b) Fech on 3'3'0.)

   

UNITED sTATE DRISTIC COUR - WESTERN D's'TRCT oFTENNESSEE

Notice cf Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CR-20230 Was distributed by faX, mail, or direct printing on
August 3, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

